     Case 2:19-cr-00045-LGW-BWC Document 4 Filed 07/12/19 Page 1 of 2



                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          BRUNSWICK DIVISION

                                             )
UNITED STATES OF AMERICA                     )
                                             )
                   v.                        )                2:19-CR-45
                                             )
JANICE COLTER                                )
                                             )

             GOVERNMENT’S NOTICE OF PLEA AGREEMENT

       NOW COMES the United States of America, by and through Bobby L.

Christine, United States Attorney for the Southern District of Georgia, and pursuant

to 18 U.S.C. § 3161(h)(1)(G), notifies the Court that a plea agreement has been

reached by the parties which would dispose of the charges pending in the above-

captioned case against the defendant. A copy of the plea agreement has been provided

to the Court for its consideration. The government respectfully requests that the

Court schedule a Rule 11 proceeding and accept the defendant=s plea as set forth in

the proposed agreement.


                                                 Respectfully submitted,

                                                 BOBBY L. CHRISTINE
                                                 UNITED STATES ATTORNEY

                                                 s/ J. Thomas Clarkson
                                                 Assistant United States Attorney
                                                 Georgia Bar No. 656069

Post Office Box 8970
Savannah, Georgia 31412
(912) 652-4422



                                         1
      Case 2:19-cr-00045-LGW-BWC Document 4 Filed 07/12/19 Page 2 of 2




                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a result

of electronic filing in this Court.

       This 12th day of July, 2019.

                                        Respectfully submitted,

                                        BOBBY L. CHRISTINE
                                        UNITED STATES ATTORNEY

                                        s/ J. Thomas Clarkson
                                        Assistant United States Attorney
                                        Georgia Bar No. 656069


Post Office Box 8970
Savannah, Georgia 31412
(912) 652-4422




                                           2
